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 9

10                            IN THE UNITED STATES DISTRICT COURT

11                         FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                      SACRAMENTO DIVISION

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     RALPH COLEMAN, et al.,                               2:90-cv-00520 KJM-DB (PC)
15
                                            Plaintiffs,   DEFENDANTS’ REPLY TO
16                                                        PLAINTIFFS’ JUNE 6, 2024
                    v.                                    STATEMENT OF NON- OPPOSITION
17                                                        TO DEFENDANTS’ REQUEST FOR
                                                          LEAVE TO FILE MOTION TO STAY
18   GAVIN NEWSOM, et al.,                                MARCH 6, 2024 ORDER (ECF NO. 8261)
19                                       Defendants.
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22         On May 23, 2024, this Court considered Defendants’ May 22 request for leave to file a

23   motion to stay the March 6, 2024 order and granted Plaintiffs fourteen days to file a response to

24   Defendants' request for leave. (ECF No. 8247.) Plaintiffs waited the full fourteen days to file a

25   single paragraph statement of non-opposition that requests an additional thirty days to respond to

26   the motion to stay the March 6 order that was filed as an attachment to the May 22 request for

27   leave. (ECF No. 8261.) Granting Plaintiffs an additional thirty days on top of the fourteen days

28   they already received would give Plaintiffs an astounding forty-four days to respond to a very
                                                      1
                              Response to Plaintiffs’ June 6 Statement of Non-Opp’n.(2:90-cv-00520 KJM-DB (PC))
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 1   straight forward motion, greatly exceeding the twenty-one days they would receive under the

 2   Local Rules. Plaintiffs offer no specific basis for the requested time—referring simply to

 3   “numerous upcoming deadlines” cited in a prior declaration unrelated to this filing. See ECF No.

 4   8261 at 2:5-6 (citing ECF No. 8256 at 5-6). But notably, there are 19 attorneys listed as

 5   representing Plaintiffs on the caption page of Plaintiffs’ filing and there is no indication from

 6   Plaintiffs’ filing that they are unable to respond in a more timely manner, notwithstanding the

 7   upcoming filings in this case. Defendants therefore request that the Court order Plaintiffs to file

 8   any opposition they have to the motion by no later than June 21, 2024. This deadline provides

 9   them with a full thirty days to respond to the motion to stay—16 days more than they would

10   otherwise be entitled to under the local rules. See E.D. Local Rule 230(c). Given the Court’s

11   May 14, 2024 minute order giving Defendants only seven days to respond to supplemental

12   briefing concerning the payment of fines in excess of $100,000,000 (ECF No. 8235), thirty days

13   is more than enough time to respond to the motion to stay the order precluding expert tours.

14                                           CERTIFICATION
15         In preparing this filing, Defendants’ counsel certify that they have reviewed the following

16   relevant orders: ECF Nos. 4361, 4539, 5131, 5711, 6017, 7003, 7807, 7897, 7918, 8005, 8029,

17   8144, 8239, and 8247.

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                              Response to Plaintiffs’ June 6 Statement of Non-Opp’n.(2:90-cv-00520 KJM-DB (PC))
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 1   Dated: June 10, 2024                                 Respectfully submitted,

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 4

 5                                                         /s/ Elise Owens Thorn
                                                           Elise Owens Thorn
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